Case 5:19-cv-00615-TJC-PRL Document 69 Filed 02/08/21 Page 1 of 1 PageID 791




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

RACHELLE BEAUBRUN, et al.                     CASE NO. 5:19-cv-615-TJC-PRL
v.
UNITED STATES OF AMERICA


Counsel for Plaintiffs:                   Counsel for Defendant:
Bryan Busch                               Adam Smart
Philip Reizenstein                        Julie Posteraro
Kellie Peterson

              HONORABLE MARCIA MORALES HOWARD
                 UNITED STATES DISTRICT JUDGE

Courtroom Deputy: Jodi L. Wiles       Court Reporter: Cindy Packevicz Jarriel


                             CLERK’S MINUTES


PROCEEDINGS OF: SETTLEMENT CONFERENCE VIA ZOOM

Settlement conference conducted.

Subject to approval by an Assistant Attorney General of the United States, a
settlement was reached with respect to some of the Plaintiffs.

Court will reconvene on Thursday, February 11, 2021, at 2:00 p.m. to
confirm the settlement with respect to Ms. Leon.




Date: February 8, 2021    Time: 1:38 p.m. – 6:55 p.m.   Total: 5 Hours, 17 Minutes
